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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

         In re                                            )                         Chapter 11
                                                          )
         MTE HOLDINGS LLC, et al.                         )                         Case No. 19-12269 (KBO)
                 1
         Debtors.                                         )
         ________________________________________________ )                         (Joint Administration Pending)
                                                          )
         RIVERSTONE CREDIT MANAGEMENT, LLC, as )
         Administrative and Collateral Agent,             )
                                                          )
                                      Plaintiff,          )                         Adv. Pro. No. ______ (KBO)
                                                          )
                       v.                                 )
                                                          )
         MDC ENERGY LLC,                                  )
                                                          )
                                      Defendant.          )

                                   COMPLAINT FOR DECLARATORY RELIEF

                 Riverstone Credit Management, LLC (“Riverstone” or the “Agent”), as Administrative

         and Collateral Agent2 for the lenders (the “Lenders”)3 under the Credit Agreement, alleges,

         based upon knowledge, information, and belief, as follows:




         1
                   The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
         identification number, are: MTE Holdings LLC (“MTE”) (7894); MTE Partners LLC (“MTE Partners”) (1158);
         Olam Energy Resources I LLC “Olam”) (0770); MDC Energy LLC (“MDC”) (9140); MDC Texas Operator LLC
         (1087); Ward I, LLC (6817); and MDC Reeves Energy LLC (3644) (collectively, the “Debtors”). The Debtors’
         address is 280 East 96th Street, Suite 210, Indianapolis, Indiana 46240.
         2
                 Riverstone is administrative agent under that certain Term Loan Credit Agreement dated September 17,
         2018 (the “Credit Agreement”) by and among MTE, the Agent, and the lenders party thereto, and the associated
         September 17, 2018 Collateral Agreement (the “Collateral Agreement,” and together with the Credit Agreement,
         the “Loan Documents”).
         3
                  The Lenders are: CPPIB Credit Investments III Inc.; Centaurus Capital LP; New Jutland Partners, LP;
         Fenwood Road Capital Partners, LP; AG Energy Funding, LLC; Riverstone Credit Partners – Direct, L.P.;
         Riverstone Credit Partners II – Direct, L.P.; Riverstone Strategic Credit Partners A-1 AIV, L.P.; Melody Business
         Finance, LLC; The Värde Fund XII (Master), L.P.; Värde Investment Partners (Offshore) Master, L.P.; Värde
         Investment Partners, L.P.; The Värde Fund VI-A, L.P.; The Värde Skyway Master Fund, L.P.; and The Värde
         Private Debt Opportunities Fund (Onshore), L.P.
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                                         NATURE OF THE ACTION

                1.      This is an action for a declaratory order and judgment pursuant to Section 18-110

         of the Delaware LLC Act, 6 Del. C. § 18-110, declaring and confirming that the Agent validly

         and effectively exercised contractual rights on behalf of the Lenders to establish controls and

         corporate governance protections at MDC.

                2.      MTE borrowed in excess of $410 million in loans from the Lenders pursuant to

         the Credit Agreement. To secure its obligations to the Lenders, MTE pledged its equity interest

         in MDC as collateral pursuant to the Collateral Agreement. MTE has defaulted on its obligations

         under the Credit Agreement and, as a result of these defaults, the Agent exercised rights under

         the Loan Documents to vote MTE’s equity interests in MDC (the “Pledged Equity Vote”). In

         that capacity, Riverstone, as Administrative Agent and Collateral Agent, executed a written

         consent on behalf of MTE and amended the MDC LLC Agreement to, among other things, (1)

         appoint a Chief Restructuring Officer at MDC, (2) appoint a five-member Board at MDC

         consisting of two independent directors, the current CEO of MTE, the Managing Director of

         MTE’s minority shareholder—Olam, and the Chief Restructuring Officer, and (3) cause MTE to

         negotiate with an independent financial advisor regarding the provision of advisory services. A

         true and correct copy of the Action by Written Consent (the “Written Consent”) of the

         Administrative Agent (which includes the Amendment to the MDC LLC Agreement (“MDC

         Amendment”)) is attached as Exhibit EE.

                3.      The Agent’s exercise of contractual rights followed (a) numerous events of

         default by MTE, including many defaults that were hidden from the Lenders for months,

         (b) evidence of mounting liabilities and mismanagement at MDC, and (c) months without any

         meaningful response by MTE to the Agent’s and the Lenders’ efforts at negotiation and

         forbearance.
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                 4.      Despite the fact that the Agent’s actions are permitted by the plain language of the

         Loan Documents and are intended to provide independent governance and guidance for MDC

         from skilled energy industry professionals, representatives of MDC and MTE refused to

         recognize the Agent’s valid actions. Representatives of MDC and MTE took the position that

         the Pledged Equity Vote was “void ab initio” and refused to permit MDC’s new Chief

         Restructuring Officer to enter the premises at MDC.

                 5.      On October 22, 2019, MTE filed chapter 11 proceedings in the United States

         Bankruptcy Court for the District of Delaware.

                 6.      On October 25, 2019, the Agent filed its Motion of Riverstone Credit

         Management, LLC for an Order Granting Relief from the Automatic Stay to Permit Riverstone to

         Obtain Judicial Validation and Enforcement of Its Vote of the Pledged Equity [Docket No. 6]4

         (the “Lift Stay Motion”).

                 7.      On November 6, 2019, MTE filed its Objection (I) to Motion of Riverstone Credit

         Management, LLC for an Order Granting Relief from the Automatic Stay to Permit Riverstone to

         Obtain Judicial Validation and Enforcement of Its Vote of the Pledged Equity and (II) Cross-

         Motion for Turnover of Property by a Custodian [Docket No. 30] (the “Objection”). In the

         Objection, MTE did not factually contest that MTE has defaulted on numerous obligations under

         the Credit Agreement.

                 8.      On November 8, 2019, minutes after the Agent filed its Reply of Riverstone

         Credit Management, LLC to the Debtor’s Objection to the Motion for an Order Granting Relief

         from the Automatic Stay to Permit Riverstone to Obtain Judicial Validation and Enforcement of




         4
                  References to “Docket No.” shall relate to the Debtors’ main case, Case No. 19-12269 (KBO). Any
         references to “Adv. Docket No.” shall relate to this Declaratory Judgment Action.
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         Its Vote of the Pledged Equity [Docket No. 43] (the “Reply”), MDC filed chapter 11 proceedings

         in the United States Bankruptcy Court for the District of Delaware.

                9.     MDC’s bankruptcy filing was purportedly authorized by resolutions signed by

         MTE CEO Mark Siffin as Authorized Officer of MDC. But, following the Pledged Equity Vote,

         only the newly constituted board of managers was authorized to take such an action.

         Accordingly, MDC’s bankruptcy filing itself was ultra vires and in blatant disregard of the

         corporate governance changes effected through the Pledged Equity Vote.

                10.    Due to the substantial uncertainty and continuing harm to both the Lenders and

         MDC caused by MDC’s failure to recognize the controls and corporate governance protections

         established by the Agent, to the point of filing chapter 11 proceedings without valid corporate

         authority, judicial intervention is required in order to confirm and enforce the validity of the

         Pledged Equity Vote. With this Complaint, the Agent has moved for expedited proceedings

         given the need urgent need for certainty as these chapter 11 proceedings move forward, the

         ongoing mismanagement of MDC by MTE and Mr. Siffin, and the likelihood of irreparable

         damage to MDC’s ability to operate as a going concern if the controls and corporate governance

         changes implemented by the Pledged Equity Vote are not recognized.

                                                 THE PARTIES

                11.    Riverstone is a limited liability company organized under the laws of the State of

         Delaware with its principal place of business in New York, New York.            Riverstone is a

         subsidiary of Riverstone Holdings LLC. During all times relevant to this action, Riverstone

         served as Agent for the Lenders who entered into the Credit Agreement with MTE. Riverstone,

         as Agent for the Lenders, is empowered to take various actions on behalf of the Lenders,

         including receiving and distributing payments and enforcing the remedies under the Credit

         Agreement, the Collateral Agreement, and related documents.
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                12.     MDC is a limited liability company organized under the laws of the State of

         Delaware with its principal place of business in Indianapolis, Indiana. MDC is an oil and gas

         exploration and production company that operates from Midland, Texas, in the Permian Basin.

         MDC serves as the operating company for MTE. Non-party MTE, in its capacity as the holding

         company, is the sole member and manager of MDC. The membership interests of MTE are held

         by Non-party Olam and Non-party MTE Partners. MTE relies on MDC to meet all of its

         financial obligations, including all obligations under the Credit Agreement.

                                          JURISDICTION AND VENUE

                13.     Defendant is a debtor in the above-captioned jointly administered chapter 11

         cases styled In re MTE Holdings LLC, Case No. 19-12269 (KBO) (Bankr. D. Del.) (the

         “Cases”), pending in the United States Bankruptcy Court for the District of Delaware (the

         “Court”).

                14.     This Court has jurisdiction over the Cases and this Complaint pursuant to 28

         U.S.C. §§ 157(a) and 1334(a), and the Amended Standing Order of Reference from the United

         States District Court for the District of Delaware dated February 29, 2012. Jurisdiction to grant

         declaratory relief exists pursuant to 28 U.S.C. §§ 2201 and 2202, 11 U.S.C. § 105, and Fed. R.

         Bankr. P. 7001(9).

                15.     This is a core proceeding under 28 U.S.C. § 157(b)(2)(A), and (O).

                16.     Venue of the Cases and this adversary proceeding in this district is proper under

         28 U.S.C. §§ 1408 and 1409.

                17.     Pursuant to Fed. R. Bankr. P. 7008(a) and Local Rule 7008-1, Plaintiff consents to

         the Court’s entry of a final judgment or order with respect to the adversary proceeding if it is

         determined that the Court, absent consent of the parties, cannot enter final orders or judgments

         consistent with Article III of the United States Constitution.
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                                           FACTUAL BACKGROUND

                  I.    The Term Loan Credit Agreement and the Collateral Agreement

                18.     On September 17, 2018, Riverstone, as Administrative Agent and Collateral

         Agent for the Lenders, the Lenders, and MTE, entered into the Credit Agreement. A true and

         correct copy of the Credit Agreement is attached as Exhibit A.           On September 17, 2018,

         Riverstone, as Administrative Agent and Collateral Agent for Lenders, and MTE, entered into

         the Collateral Agreement. Under the Collateral Agreement, MTE pledged 100% of its member

         interests in MDC as collateral securing its obligations under the Credit Agreement. A true and

         correct copy of the Collateral Agreement is attached as Exhibit E.

                19.     The financing available to MTE under the Credit Agreement included the right to

         draw down up to $240 million on the Closing Date (the “Closing Date Loans”) and the

         aggregate amount of $235 million during a period of twelve months following the Closing Date

         (the “Delayed-Draw Loans”). See Ex. A § 2.1, Appendix A.

                20.      As of the date of this Complaint, MTE has borrowed $410 million in outstanding

         principal under the Credit Agreement.

                21.     Under the Credit Agreement, MTE must remain in compliance with certain key

         obligations that were carefully negotiated among MTE, the Lenders, and the Agent. Among

         other obligations, MTE agreed to (1) maintain agreed ratios of (a) asset value to debt, and

         (b) debt to EBITDAX, (2) not incur any accounts payable that become more than 90 days past

         due, (3) avoid the incurrence of additional indebtedness in the form of mechanics liens, (4) keep

         current with financial reporting obligations, and (5) ensure that all representations to the Lenders

         are complete and true. See Ex. A §§ 5.1, 6.1, 6.2, 6.7.

                22.     Each of MTE’s commitments was intended to assure the Lenders that MTE could

         actually repay amounts it owes them. Timely and accurate financial reporting provides the
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         Lenders with critical information regarding the financial condition and status of MTE and

         enables the Lenders to track the promised and proper use of funds they advanced.

                23.    MTE also agreed in the Credit Agreement that its wholly owned operating

         company, MDC, would comply with other loan agreements to which it is party, including a

         September 17, 2018 credit agreement with Natixis, as issuing bank and administrative agent, and

         BMO Harris Bank as lender (as amended, the “RBL Credit Facility Agreement”). See Ex. A §

         8.1(b). A true and correct copy of the RBL Credit Facility Agreement is attached as Exhibit B.

         MDC’s compliance with the RBL Credit Facility Agreement was of critical importance to the

         Lenders because, under Section 9.04(c) of the RBL Credit Facility Agreement, if MDC was in

         default under such agreement, it could not distribute to MTE, its parent company, the cash

         necessary for MTE to make payments under the Credit Agreement.

                24.    The Credit Agreement also identifies how MTE may use funds advanced by the

         Lenders. The Lenders did not agree to advance funds to MTE for general corporate purposes,

         and the Credit Agreement is not a revolving or liquidity facility intended for such use. Rather,

         the Lenders agreed to advance the Delayed-Draw Loans for the specific purpose of developing

         the assets specified within the Approved Plan of Development (the “APOD”). The APOD lists

         various oil and gas properties and specifically identifies how MDC may make capital

         expenditures to develop them. The APOD is a carefully negotiated document that contours the

         Lenders’ and MTE’s development risk. MTE agreed to spend the proceeds of the Delayed-Draw

         Loans solely in compliance with the APOD. See Ex. A § 2.4.

                25.    Sections 8.1 and 8.2 of the Credit Agreement identify certain specific breaches of

         the Credit Agreement that constitute “Events of Default” and entitle the Agent, on behalf of the

         Lenders, to cease further funding under the Credit Agreement, accelerate the debt, and enforce


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         any liens and security interests under the Collateral Agreement.                    Breaches of any of the

         obligations described in paragraphs 21 through 24 above constitute such an Events of Default.

                   II.    MTE’s Materially False Certification in the First Amendment

                 26.      Within months after execution of the Credit Agreement, MTE defaulted under

         Section 8.1(c) by breaching certain financial covenants and drilling wells not authorized by the

         APOD.

                 27.       As of September 30, 2018, MTE had failed to maintain a leverage ratio5 of less

         than 4.75 to 1.00, and failed to maintain an interest coverage ratio6 of greater than 2.00 to 1.00 as

         required by Credit Agreement Sections 6.7(a) and 6.7(b), respectively. These Credit Agreement

         covenants exist because excessive debts or the inability to fund interest expenses demonstrate the

         financial condition of a company and disclose its actual ability to make required payments to its

         creditors.

                 28.      Negotiations respecting a potential waiver of these breaches between MTE, the

         Agent, and its Lenders ensued. In the course of those discussions, the Agent and the Lenders

         discovered that MTE had drilled wells not authorized by the APOD.

                 29.       Following months of negotiation, MTE, the Lenders, and the Agent entered into

         the Limited Waiver and First Amendment to Term Loan Credit Agreement (the “First

         Amendment”) dated February 22, 2019, in which MTE admitted (in Recital B) that it had failed

         to maintain the required leverage and interest coverage ratios required by the Credit Agreement.

         A true and correct copy of the First Amendment is attached hereto as Exhibit F.


         5
                 Under the Credit Agreement, the leverage ratio is the ratio as of the last day of the Fiscal Quarter of (a)
         Consolidated Total Debt as of such date to (b) Consolidated Adjusted EBITDAX for the Fiscal Quarter period then
         ending, multiplied by four.
         6
                   Under the Credit Agreement, the interest coverage ratio for the Fiscal Quarter ending September 30, 2018
         is the ratio as of the last day of the Fiscal Quarter of the Consolidated Adjusted EBITDAX for such Fiscal Quarter
         multiplied by four to Consolidated Interest Expense for such Fiscal Quarter multiplied by four.
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                 30.      MTE also admitted in Recital B of the First Amendment that it had begun making

         capital expenditures associated with the drilling of wells identified on Schedule I of the First

         Amendment that were not authorized by the then-effective APOD in violation of Section 5.13

         and Section 6.20 of the Credit Agreement.

                 31.      MTE requested that the Lenders waive these specified defaults in exchange for

         MTE’s agreement to pay all outstanding fees and certain additional expenses associated with the

         First Amendment and enter into a new APOD. The Agent and the Lenders executed the First

         Amendment to provide a limited waiver of the aforementioned defaults and amended the Credit

         Agreement to assist MTE in avoiding a future default.7

                 32.      The First Amendment also put a new APOD in place, which remained effective

         for six months. After this six-month period, MTE agreed (in Section 4 of the First Amendment)

         to submit a new APOD for approval by the Lenders in accordance with Credit Agreement

         Section 5.13.

                 33.      In connection with signing the First Amendment, the Agent and the Lenders

         discussed with MTE that MDC’s drilling results up to that point had been disappointing, and that

         the Agent and the Lenders believed MDC’s then-current pace of drilling was too fast and likely

         to result in mistakes. The agreed new APOD reflected a negotiated understanding that MDC

         would change its drilling pace to move more deliberately and attempt to apply lessons learned

         during the fall drilling campaign that had violated the APOD.

                 34.      Unbeknownst to the Agent and the Lenders at the time of execution of the First

         Amendment, MTE already defaulted under of other provisions of the Credit Agreement.




         7
                 Specifically, the Agent and the Lenders agreed to an amendment not to test the leverage ratio or the interest
         coverage ratio for MTE for the Fiscal Quarter ended December 31, 2018.
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                 35.      To obtain the First Amendment, MTE—through Mr. Siffin—certified that, other

         than the specified defaults identified under the First Amendment, no default or Event of Default

         had occurred or was continuing. See Ex. F § 3.1. This was a materially false certification.

         Contrary to MTE’s representations in the First Amendment, MTE was in default as of February

         22, 2019 because two mechanics liens—one by Wellbore Fishing and one by Wilbanks Trucking

         Services—in the total amount of $1,057,483.59 had already been filed against MDC and were

         outstanding. True and correct copies of these mechanics liens are attached hereto as Exhibit G.

         The creation of mechanics liens violates Credit Agreement Section 6.2 and constituted an Event

         of Default under Section 8.1(c).

                 36.      In addition, an Event of Default had occurred as a result of MTE’s subsidiary

         defaulting on its debt obligations. MDC had permitted its current ratio8 to be less than 1.00 to

         1.00 as of the last day of the 2018 Fiscal Year in violation of RBL Credit Facility Agreement

         Section 9.01(b). This created an Event of Default under Credit Agreement Section 8.1(b).9

                 37.      Although MTE provided the Agent with an unaudited balance sheet in February

         2019 purporting to show that MDC was in compliance with the RBL Credit Facility Agreement’s

         current ratio requirement for the end of Fiscal Year 2018 (with total current assets of

         $102,343,144 and total current liabilities of $69,781,756 for a current ratio of 1.47),10 the Agent

         and the Lenders would learn almost four months later that MDC was substantially out of

         compliance with this ratio requirement at the end of 2018.                    In July 2019, MTE belatedly


         8
                  Under the RBL Credit Facility Agreement, the current ratio is the ratio of (i) consolidated current assets
         (excluding non-Cash assets) of MDC and its subsidiaries to (ii) consolidated current liabilities (excluding non-Cash
         obligations) of MTE and its subsidiaries.
         9
                  The mechanics liens filed against MDC also constituted a violation of Section 9.03 of the RBL Credit
         Facility Agreement and created a cross default under Section 8.1(b) of the Credit Agreement.
         10
                  A true and correct copy of the internal financials that MTE delivered to the Agent on February 19, 2019 is
         attached as Exhibit H.
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         provided draft audited financial statements to the Agent and the Lenders showing that MDC’s

         current assets for Fiscal Year 2018 were actually $145,265,527 and its current liabilities were in

         fact $184,025,219 resulting in a dramatically lower current ratio of 0.79.11 A second set of draft

         audited financial statements provided in October 2019 when the Agent exercised its inspection

         rights show that MDC’s current ratio for Fiscal Year 2018 was even lower— just 0.68.12 A true

         and correct copy of a chart showing the calculation of the current ratio for Fiscal Year 2018 is

         attached as Exhibit K.

                 38.      MDC’s noncompliance with the RBL Credit Facility Agreement’s current ratio

         requirement as of December 31, 2018 demonstrated that its current liabilities far exceeded its

         current assets—an indicator of financial distress that would have been highly relevant to the

         Agent’s and the Lenders’ decision to enter the First Amendment in the face of MTE’s immediate

         defaults.

                 39.      MTE was also in default under Credit Agreement Section 8.1(c) because MDC

         had incurred indebtedness in the form of accounts payable overdue in excess of 90 days,

         violating Credit Agreement Section 6.1. At the time of the First Amendment, MDC’s accounts

         payable in excess of 90 days past due totaled at least $4,868,117.13 The Agent did not discover

         this default until it exercised its inspection rights pursuant to Credit Agreement Section 5.7 in

         October 2019.




         11
                 A true and correct copy of the draft financials that MTE delivered to the Agent on July 19, 2019 is attached
         as Exhibit I.
         12
                 A true and correct copy of the second set of draft audited financial statements MTE delivered to the Agent
         in October 2019 when the Lenders exercised their inspection rights is attached as Exhibit J
         13
                  A true and correct copy of a summary of the accounts payable over 90 days outstanding as of the date of
         the First Amendment and all subsequent Borrowing Notices that were still outstanding as of August 31, 2019 is
         available at Exhibit C.
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                 40.      Despite these clear defaults, MTE certified in the First Amendment that, other

         than the specified defaults identified under the First Amendment, which did not include any of

         the foregoing, no default or Event of Default had occurred or was continuing. This was a

         materially false certification.

                 III.     MTE Submits Borrowing Notices With False Certifications From February
                          22, 2019 to April 18, 2019

                 41.      On February 22, 2019, MTE submitted a Borrowing Notice in the amount of $40

         million.      Pursuant to Credit Agreement Sections 2.3 and 3.2(f), this Borrowing Notice

         represented and warranted that MTE was not then in default of any of its obligations. A true and

         correct copy of this Borrowing Notice is attached as Exhibit L.

                 42.      MTE’s certifications in the February 22, 2019 Borrowing Notice—again made by

         Mr. Siffin—were materially false. As described above, MTE concealed from the Lenders that

         two mechanics liens in the total amount of $1,057,483.59 had been filed against MDC and were

         outstanding as of February 22, 2019, in violation of Credit Agreement Section 6.2, an Event of

         Default under Credit Agreement Section 8.1(c). MTE also concealed from the Lenders that

         MDC was out of compliance with the RBL Credit Facility Agreement’s current ratio

         requirements—creating a cross-default under Credit Agreement Section 8.1(b). MTE likewise

         concealed from the Lenders that MDC had incurred additional indebtedness in the form of

         accounts payable over 90 days past due in the amount of at least $4,868,117 in violation of

         Credit Agreement Section 6.1, an Event of Default under Credit Agreement Section 8.1(c).

         MTE’s materially false statements both in the First Amendment and in the Borrowing Notice

         were additional defaults under Credit Agreement Section 8.1(d).




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                43.     On February 27, 2019, in reliance on MTE’s representations in the Borrowing

         Notice, which they did not then know to be false, the Lenders fully funded MTE’s request for an

         additional $40 million.

                44.     Just three weeks later, on March 18, 2019, MTE submitted a second Borrowing

         Notice in the amount of $20 million. Again, pursuant to Credit Agreement Sections 2.3 and

         3.2(f), this Borrowing Notice represented and warranted that MTE was not then in default under

         any of its obligations.   A true and correct copy of this Borrowing Notice is attached as

         Exhibit M.

                45.     This second Borrowing Notice was also materially false. As of March 18, 2019,

         MTE was in default because thirty-three mechanics liens—one by Wellbore Fishing, one by

         Wilbanks Trucking Services, seventeen by Trans Tex Cementing Services LLC, and fourteen by

         Trans-Tex Dyno Services—all in the collective amount of $3,081,267.07—now existed against

         MDC’s assets. True and correct copies of these mechanics liens are attached as Exhibits G and

         N. MTE’s false certification concealed the existence of these thirty-three mechanics liens. In

         addition, as of this Borrowing Notice date, MDC defaulted under the RBL Credit Facility

         Agreement by failing to maintain a current ratio not less than 1.00 to 1.00. As noted above,

         although not then disclosed to the Lenders, as of December 31, 2018, MDC’s current ratio was

         0.68. MTE was also in default because MDC had additional indebtedness in accounts payable

         over 90 days past due in the amount of at least $7,447,727 as of March 18, 2019, which the

         Agent did not discover until the Agent exercised its inspection rights pursuant to Credit

         Agreement Section 5.7 in October 2019. See Exhibit C. MTE was also in default because of its

         materially false statements in the March 18, 2019 Borrowing Notice itself, as well as the false

         certifications made in the February 22, 2019 Borrowing Notice and the First Amendment.


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                46.     On March 28, 2019, the Lenders, in reliance on MTE’s representations in the

         second Borrowing Notice, which they did not then know to be false, fully funded MTE’s request

         for $20 million.

                47.     Two weeks later, on April 1, 2019, MTE submitted a third Borrowing Notice in

         the amount of $60 million. A true and correct copy of the April 1, 2019 Borrowing Notice is

         attached at Exhibit O. By this point, certain of the Lenders were becoming concerned that MTE

         was seeking to withdraw more than half of the $235 million in Delayed-Draw Loans, less than

         two months following execution of the First Amendment in February. The frantic spending pace

         was hard to reconcile with MTE’s agreement in the First Amendment’s APOD that should have

         slowed the pace of spending. In light of these concerns, the Lenders insisted that MTE agree to

         include an additional certification in this third Borrowing Notice, specifically that “[a]fter giving

         effect to the Loans … [MTE] will be in compliance in all material respects with all operating and

         financial covenants set forth in the Credit Agreement on the date hereof and as of the last day of

         each Fiscal Quarter ending prior to the Maturity Date.”       Ex. O ¶ 6. That certification was a

         requirement of the Borrowing Notice for Delayed-Draw Loans.

                48.     Accordingly, the April 1, 2019 Borrowing Notice represented and warranted that

         MTE was not then in default, and that MTE, after receiving the requested loans, would not be in

         default in future fiscal quarters. These representations were false. As of April 1, 2019, MTE

         was in default (1) because the thirty-three mechanics liens described above remained outstanding

         against MDC’s assets (see Exhibits G and N), (2) because MDC had permitted its current ratio to

         fall to 0.68 in violation of the RBL Credit Facility Agreement, (3) because MDC had accounts

         payable over 90 days past due in the amount of at least $9,170,162 as of April 1, 2019 (see

         Exhibit C), and (4) because of the materially false certifications it had made to the Lenders, in


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         the First Amendment and the prior Borrowing Notices, described above. Moreover, as the Agent

         and the Lenders would later learn when they received the MTE’s unaudited internal financial

         statements for the quarters ended March 31, 2019 and June 30, 2019, MDC had breached and

         would continue to breach the RBL Credit Facility Agreement by permitting its current ratio to

         remain below 1.00 to 1.00 for these quarters. As of March 31, 2019, MDC’s current ratio was

         0.91, while it plummeted to 0.64 by June 30, 2019. See Exhibit K. MTE would also fail to

         maintain an asset coverage ratio of at least 1.00 to 1.00 for the quarter ended June 30, 2019,

         which, as explained below, constitutes another Event of Default under the Credit Agreement.

                    49.      On April 11, 2019, in reliance on MTE’s representations in the third Borrowing

         Notice, which they did not then know to be false, the Lenders fully funded MTE’s request for

         $60 million.

                    50.      On April 18, 2019, MTE submitted a fourth Borrowing Notice. A true and

         correct copy of this Borrowing Notice is attached as Exhibit P. The April 18, 2019 Borrowing

         Notice contemplated a $65 million draw, the remainder of the credit facility.14 Thus, just eight

         weeks after the First Amendment, MTE had submitted four Borrowing Notices for an aggregate

         amount of money that was intended to last MTE for approximately seven months.

                    51.      In light of the Lenders’ discomfort with MTE’s April 1, 2019, Borrowing Notice,

         the Agent believed that MTE’s rapid pace of spending, combined with the poor production


         14
                  As noted above, the Delayed-Draw Loan facility was for an aggregate amount of $235 million, available
         until September 17, 2019 (the one year anniversary of the Credit Agreement closing date). MTE issued the
         following Borrowing Notices for Delayed-Draw Loans:
                (a) October 16, 2018: $50 million
                (b) February 22, 2019: $40 million
                (c) March 18, 2019: $20 million
                (d) April 1, 2019: $60 million
                (e) April 18, 2019: $65 million.
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         results discovered in the process of negotiating the First Amendment and the unknown and

         uncertain results of MDC’s then-current drilling activity, would raise questions among the

         Lenders.

                52.     Upon receipt of the April 18, 2019 Borrowing Notice, the Agent communicated

         its concern to MTE. Ultimately, MTE informed the Agent that it would not proceed on its April

         18, 2019 Borrowing Notice.

                53.     Under any circumstances, MTE was not entitled to draw any funds pursuant to the

         April 18, 2019 Borrowing Notice because it was then in default (1) due to the thirty-three

         outstanding mechanics liens described above, (2) because MDC had permitted its current ratio to

         fall to 0.68 as of December 31, 2018, in violation of the RBL Credit Facility Agreement,

         (3) because MDC had accounts payable over 90 days past due in the amount of at least

         $10,544,884 as of April 18, 2019 (see Exhibit C), and (4) because of the materially false

         certifications MTE had made to the Lenders in conjunction with the First Amendment and the

         subsequent three Borrowing Notices, as described above.

                IV.     MTE’s Additional Events of Default

                54.     Since April 2019, MTE’s defaults have multiplied. In addition to defaults (1), (2),

         (3), and (4) described immediately above, MTE also (5) failed to comply with critical financial

         and performance covenants, (6) failed to provide notices of default to the Agent and the Lenders,

         (7) failed to deliver audited financial statements and compliance certificates, (8) continued to

         fund MDC’s operations without an effective APOD in place, (9) allowed MDC to incur

         additional indebtedness, and (10) failed to pay a $150,000 administrative agent fee, all described

         in more detail below.     In sum, MTE’s numerous breaches under the Credit Agreement

         demonstrate a pattern of disregard for contractual obligations, a willingness to make false


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         statements, and mismanagement that causes the Lenders grave concerns about the value of their

         collateral, MDC’s future, creditworthiness, and willingness to comply with its promises.

                           A. Failure to Provide Complete and Accurate Information to the Agent
                              and the Lenders

                55.    As described above, MTE made false certifications in the First Amendment

         regarding its compliance with the Credit Agreement and drew down $120 million between

         February and April 2019 based on materially false borrowing notices. MTE has also failed to

         provide notice to the Lenders of its numerous other defaults as required by Credit Agreement

         Section 5.2(a), constituting an Event of Default under Credit Agreement Section 8.1(c).

                56.    MTE failed to deliver notices of MDC’s defaults under the RBL Credit Facility

         Agreement, as required by Credit Agreement Section 5.1(o). As described above, MDC was in

         violation of the RBL Credit Facility Agreement as of December 31, 2018 for failure to comply

         with the Agreement’s current ratio requirements.      Furthermore, on information and belief,

         Natixis, administrative agent of MDC’s RBL Credit Facility Agreement, sent a Reservation of

         Rights Letter to MDC on May 14, 2019 to inform MDC that it was in default. MTE’s failure to

         deliver the May 14, 2019 Natixis letter, or any notice of any other defaults by MDC under the

         RBL Credit Facility Agreement, to the Lenders constitutes an Event of Default under Credit

         Agreement Section 8.1(c). A notice of any default under the RBL Credit Facility Agreement is

         critically important to the Lenders because such defaults prevent MDC from providing cash to

         MTE to fund payments under the Credit Agreement.

                57.    As of April 30, 2019, MTE was also in default under Credit Agreement Section

         8.1(c) because MTE failed to deliver audited financial statements with respect to the Fiscal Year

         2018 without a “going concern” or like qualification or exception and without any qualification

         or exception as to the scope of such audit within 120 days of the Fiscal Year end (December 31,

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         2018) pursuant to Credit Agreement Section 5.1(c). Audited financial statements provide the

         Lenders an independent verification with respect to the financial health of MTE and its affiliates.

         To date, MTE has not provided the Lenders with any audited financial statements for the Fiscal

         Year 2018.

                58.     Moreover, as described above, the draft audited financial statements provided to

         the Lenders on July 19, 2019 and October 15, 2019 raise additional concerns because they are

         substantially and materially different than the unaudited balance sheet MTE provided to the

         Lenders on February 19, 2019, suggesting that MTE may have intentionally provided false

         information to the Lenders before executing the First Amendment on February 22, 2019.          See

         Exs. H, I, and J.

                59.     As of May 15, 2019, MTE was in default under Credit Agreement Section 8.1(c)

         because of MTE’s failure to deliver an executed and completed Compliance Certificate for the

         Fiscal Quarter ended March 31, 2019, as required by Credit Agreement Section 5.1(e). In the

         Compliance Certificate, MTE is required to certify that no Event of Default has occurred or is

         continuing, and attach detailed calculations demonstrating that MTE’s leverage ratio, interest

         coverage ratio, and total asset coverage ratio are in compliance with requirements. On August

         14, 2019, MTE again failed to deliver an executed and completed Compliance Certificate for the

         Fiscal Quarter ended June 30, 2019 within forty-five days of the end of the Fiscal Quarter.

                60.     MTE is also in default under Credit Agreement Section 8.1(c) because MTE has

         never delivered Financial Officer Certifications with its monthly financial statements. “See, e.g.,

         Exhibit AA.” Under Credit Agreement Section 5.1(a), within thirty days after the end of each

         calendar month, MTE is required to deliver its consolidated balance sheet, consolidated

         statements of income, stockholders’ equity, and cash flows for such month and for the period


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         from the beginning of the then-current Fiscal Year to the end of such month. Along with these

         financial statements, Section 5.1(a) requires MTE to deliver a Financial Officer Certification that

         such financial statements fairly present, in all material respects, the financial condition of MTE

         and the results of MTE’s operations and cash flows, in each case in conformity with GAAP

         applied on a consistent basis.

                61.     For the month ended February 28, 2019, MTE failed to deliver any financial

         reports as required by Credit Agreement Section 5.1(a).

                62.     MTE’s failure to deliver audited financial statements and required certifications

         for unaudited financial information—coupled with its disregard of its other obligations under the

         Credit Agreement—causes substantial concern about the fiscal management of MTE and what

         other defaults MTE might be concealing.

                            B. Mechanics Liens

                63.     As noted above, the creation of mechanics liens violates Credit Agreement

         Section 6.2, constituting an Event of Default under Section 8.1(c). In addition to the thirty-three

         mechanics liens described above (see Exs. G and N), additional mechanics liens in the total

         amount of $1,741,182.84 were filed on April 22, 2019, and April 24, 2019. On April 22, 2019,

         Creek Pipe Co LLC filed a mechanics lien against MDC’s assets in the amount of $95,256.65.

         On April 24, 2019, C&J Energy Services filed a mechanics lien against MDC’s assets in the

         amount of $1,645,926.19. True and correct copies of these mechanics liens are attached as

         Exhibit Q. When the Agent exercised its right to inspect MTE’s books and records pursuant to

         Credit Agreement Section 5.7 in October 2019, the Agent discovered the existence of more than

         $50 million in mechanics liens attached to MDC’s assets.            These mechanics liens were

         outstanding at least as of September 6, 2019. See Exhibits D and R.


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                64.     The creation of these mechanics liens also constitutes a default under RBL Credit

         Facility Agreement Section 9.03. This in turn creates Events of Default under Credit Agreement

         Section 8.1(b), which provides that it is an Event of Default for MTE and any of its subsidiaries,

         such as MDC, to default on another loan.

                            C. Failure to Meet Ratios in Accordance with Credit Agreement and
                               RBL Credit Facility Agreement

                65.     As described above, MTE was in default as of December 31, 2018, under Credit

         Agreement Section 8.1(b) based on MDC’s default under RBL Credit Facility Agreement

         Section 9.01(b), which requires MDC to maintain a current ratio of not less than 1.00 to 1.00 as

         of the last day of any Fiscal Quarter. MDC’s current ratio was reported as 0.68 as of December

         31, 2018 and 0.91 as of March 31, 2019. See Ex. K.

                66.     The Agent did not discover these ratio defaults until July 19, 2019, when—after

         repeated requests—the Agent received MTE’s draft audited financial statements for the year

         ended December 31, 2018 (see Ex. I) and internal quarterly financial statements for the quarter

         ended March 31, 2019. A true and correct copy of these internal quarterly financial statements

         are available at Exhibit S. This was the first quarterly or annual financial information that MTE

         provided to the Agent and the Lenders since the First Amendment was executed on February 22,

         2019. MTE then provided another set of draft audited financial statements for Fiscal Year 2018

         (see Ex. J) and quarterly financial statements for the quarter ended March 31, 2019 on October

         15, 2019, which continued to show these ratio defaults. A true and correct copy of these

         quarterly financial statements are available at Exhibit T. The internal financial statements for the

         Fiscal Quarter ended December 31, 2018, which MTE delivered to the Agent on February 19,

         2019 and upon which the Lenders reasonably relied when executing the First Amendment,

         showed that MDC was in compliance with all of its financial covenants. See Ex. H.

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                 67.      These issues continued into the Second Quarter of 2019. MDC’s current ratio

         was 0.64 as of June 30, 2019. The Agent did not discover this default until August 16, 2019,

         when the Agent received MTE’s internal quarterly financial statements for the second quarter.15

                 68.      MTE had also failed to maintain a Total Asset Coverage Ratio of not less than

         1.00 to 1.00 for the Fiscal Quarter ending as of June 30, 2019, as required by Credit Agreement

         Section 6.7(c).16 On August 16, 2019, MTE provided the Lenders with an unsigned, uncertified,

         compliance certificate suggesting that MTE was in compliance with the Total Asset Coverage

         Ratio for the quarter ended June 30, 2019, showing a ratio of 1.07. A true and correct copy of

         the unexecuted compliance certificate is available at Exhibit X. However, when the Agent and

         the Lenders closely reviewed the certificate, they determined that MTE had miscalculated the

         Total Asset Coverage Ratio, and that it was actually 0.97—out of compliance with Credit

         Agreement Section 6.7(c) and constituting an Event of Default under Section 8.1(c). A true and

         correct summary of this calculation is available at Exhibit W.

                               D. Operation Without an Effective APOD

                 69.      The APOD agreed to under the First Amendment was only effective until August

         22, 2019. Under the Credit Agreement Section 5.13 and Section 4 of the First Amendment,

         MTE was required to submit a new APOD acceptable to the Lenders upon the lapse of the First

         Amendment APOD. MTE has failed to do so.

                 70.      Having an APOD in place is required because the APOD governs how MTE is

         permitted to use the money it takes from the Lenders.



         15
                 A true and correct copy of the internal quarterly financial statements for the Fiscal Quarter ended June 30,
         2019 are available at Exhibit U. A true and correct copy of the quarterly financial statements for the Fiscal Quarter
         ended June 30, 2019 delivered to the Agent in October 2019 are available at Exhibit V.
         16
                  Under the Credit Agreement, the total asset coverage ratio is the ratio as of the last day of the Fiscal
         Quarter of (a) Total Asset Value as of such date to (b) the Consolidated Total Debt as of such date.
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                71.     MTE never sent a proposed new APOD to the Lenders. By email dated August

         12, 2019, MTE sent a proposed development schedule to the Agent imbedded in a financial

         forecast. MTE did not characterize the schedule as a proposed APOD and the Agent did not

         consider it to be a proposed APOD. In any event, execution of this development schedule would

         have resulted in numerous defaults under the Credit Agreement, and therefore it could not form

         the basis of a new APOD.

                72.     After review of the development schedule, the Agent informed MTE of these

         facts; specifically that execution of this plan would result in numerous defaults under the Credit

         Agreement’s financial covenants, including failure to meet the Credit Agreement’s total asset

         coverage ratio requirement and (depending on commodity prices) the likely failure to meet the

         leverage ratio requirement. The Agent informed MTE that a broader agreement between MTE

         and the Lenders providing for a waiver of past and future defaults would be required before an

         APOD could be approved based on the development schedule provided.

                73.     Without an approved APOD in place, MTE was prohibited under Credit

         Agreement Section 6.20 from making capital expenditures.

                74.     Nevertheless, since August 23, 2019, in breach of the Credit Agreement, MTE

         continued to fund MDC’s drilling and to make capital expenditures. MTE’s continued capital

         expenditures violate Credit Agreement Section 6.20, constituting a default under Section 8.1(c).

                           E. Incurrence of Additional          Indebtedness     and   Failure    to   Pay
                              Administrative Agent Fee

                75.     MTE has continued to default under Credit Agreement Section 8.1(c) by allowing

         MDC to maintain accounts payable overdue in excess of 90 days violating Credit Agreement

         Section 6.1. In MTE’s letter to the Agent dated September 10, 2019, MTE admitted that MDC’s

         aged accounts payable balance over 90 days past due for the Fiscal Quarter ended June 30, 2019

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         was substantial. By approximately August 31, 2019, this balance had grown to more than $100

         million, which the Agent did not discover until it exercised its right to inspect MTE’s books and

         records under Credit Agreement Section 5.7 in October 2019. See Exhibits BB and CC.

                76.     On September 20, 2019, MTE failed to pay the Agent the Administrative Agent

         Fee of $150,000 on the anniversary of the Closing Date as required by Credit Agreement Section

         2.6(d), constituting a default under Section 8.1(a).

                  V.    The Agent and the Lenders Attempt to Negotiate with MTE and Learn of
                        Additional Defaults and Mismanagement

                77.      Following MTE’s withdrawal of the April 18, 2019 Borrowing Notice, the Agent

         began to receive calls from Natixis—the Administrative Agent under the RBL Credit Facility

         Agreement—and others notifying the Agent that mechanics liens had been filed against MDC

         and its subsidiaries. Following these calls, the Agent discovered that, as discussed above,

         numerous mechanics liens had been filed against MDC and its subsidiaries going back as far as

         February 2019, and were in place even before February 22, 2019, the date of the First

         Amendment.

                78.     In July 2019, MTE finally provided its unaudited Fiscal Year 2018 financial

         statements to the Agent and the Lenders, along with internal financial statements for Q1 2019.

         See Exs. I and S. These financial statements demonstrated that, as discussed above, as of

         December 31, 2018 and continuing at least through the Second Quarter of 2019, MDC was

         substantially out of compliance with financial covenants in the RBL Credit Facility Agreement,

         and therefore MTE was in default under the Credit Agreement.

                79.     In addition to growing concerns about MTE’s ability to abide by the terms of the

         Credit Agreement, the Agent and the Lenders were also concerned about substantial liquidity and

         operational issues at MDC, specifically that MDC was overspending its means and

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         underperforming expectations in terms of production and cash flow.           When the Credit

         Agreement closed, MTE and MDC had $286 million of liquidity between capacity under the

         RBL Credit Facility Agreement and undrawn term loans. Between October 2018 and June 2019,

         MDC’s capital expenditures exceeded this available liquidity and cash flows by approximately

         $66 million.

                80.      MDC’s production and cash flows had also fallen dramatically below

         expectations. The financial model MTE used in negotiation of the Credit Agreement projected

         approximately 3.2 million barrels of cumulative crude oil production between October 2018 and

         June 2019. MDC’s actual crude oil production during that time period fell to almost half of the

         projection—approximately 1.7 million barrels. Similarly, as of August 2018, MDC’s projected

         EBITDAX less interest expense for the period from October 2018 to June 2019 was

         approximately $145 million, while actual EBITDAX less interest expense during this period was

         a fraction of this amount—approximately $31 million. Simply put, MDC overspent its means by

         23% in order to produce results that were roughly 79% below expectations. While crude oil

         prices were approximately 13% lower than expected during this period, MDC’s

         underperformance is primarily due to underperformance of the wells that were drilled. See

         Exhibit DD.

                81.      Based on MTE’s mounting defaults under the Credit Agreement, and feared

         substantial mismanagement of MDC, the Lenders determined that in order for them to waive the

         substantial number of outstanding defaults, MTE and MDC would need to take significant

         corporate actions to increase transparency and compliance with the loans. To that end, on

         August 26, 2019, the Lenders presented to MTE a proposal under which they would temporarily

         waive MTE’s defaults and potentially fund the remaining $65 million in Delayed-Draw


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         Loans. This proposal was conditioned on a requirement that MTE engage interim financial

         advisory help for managing issues such as cash flows and vendor payments, and on MTE

         entering into one of several proposed transactions with arms-length third parties that would raise

         capital or otherwise decrease leverage at MTE.

                82.       By letter dated September 10, 2019, MTE provided a counter-proposal that was

         inadequate for a number of reasons, including but not limited to, MTE’s unwillingness to retain

         interim financial help as required by the Lenders. A true and correct copy of this letter is

         attached as Exhibit FF.

                83.       On September 13, 2019, the Agent sent MTE a letter reserving rights and

         notifying MTE of its specific defaults on behalf of the Lenders. A true and correct copy of this

         Notice is attached as Exhibit Y.

                84.       In a further effort to work cooperatively with MTE, the Agent, on behalf of the

         Lenders, sent MTE drafts of a Limited Forbearance Agreement on September 20 and September

         28, 2019.    True and correct copies of these drafts are attached as Exhibits GG and HH,

         respectively.

                85.       MTE did not meaningfully respond to these drafts, but instead sent a letter from

         litigation counsel, asserting – without any factual basis – that MTE was not in default under the

         Credit Agreement.

                86.       Efforts to negotiate a mutually agreeable forbearance, while a gesture of good

         faith, do not in any way limit the Agent’s ability to exercise its rights under the Credit

         Agreement, which are expressly preserved during any delay pursuant to Credit Agreement

         Section 10.9.




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                87.     MTE failed to make the interest payment of $12,575,761.47 that was due and

         owing on September 30, 2019. Accordingly, on October 4, 2019 the Agent debited this amount

         from an escrow account funded by MTE for this purpose (the “Capital Reserve Account”). See

         Ex. A §§ 2.11(a); 7.1(b). Under Credit Agreement Section 7.1(b), MTE was required to replenish

         the amount debited from the Capital Reserve Account on or before November 4, 2019. MTE never

         deposited any additional funds in this account.

                88.     On October 7, 2019, the Agent sent MTE a Notice of Default outlining each of

         the defaults described herein. A true and correct copy of this Notice is attached as Exhibit Z.

                89.     Evermore concerned about the financial health of MTE, the Agent exercised its

         right to inspect MTE’s books and records pursuant to Credit Agreement Section 5.7. MTE did

         not comply with the inspection notice, permitting the Agent’s advisor access to MDC’s offices

         for only a single introductory meeting (and denying the Agent’s advisor access after that date),

         and providing only a limited subset of the information requested by the Agent. The limited

         information MTE did provide showed that MDC had accumulated significant accounts payable

         more than 90 days overdue on or around August 31, 2019, and that MDC had aged payables in

         violation of the Credit Agreement when MTE executed the First Amendment and submitted all

         2019 Borrowing Notices as described above. See Exs. C and BB.

                 VI.    Because of MTE’s Events of Default, the Agent Exercised Rights Under the
                        Collateral Agreement

                90.     Pursuant to Credit Agreement Section 8.2, upon the occurrence of any Event of

         Default and upon notice to MTE, the Agent has the right to enforce any and all security interests

         created by the Collateral Agreement.




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                91.     Similarly, under Section 6.01(b) of the Collateral Agreement, if an Event of

         Default has occurred and is continuing, the Agent may exercise “all voting, corporate,

         membership, partnership and other rights pertaining to” MTE’s membership interests in MDC.

                92.     Because of the occurrence of the Events of Default under Credit Agreement

         Section 8.1 set forth in detail above, the Agent had the right to exercise the rights under the

         pledged equity interests in MDC, including the right to amend MDC’s limited liability company

         agreement to form a board with independent directors and establish other corporate governance

         protections at MDC.

                93.     Accordingly, on October 21, 2019, the Agent voted MTE’s membership interests

         in MDC by executing the Written Consent and the MDC Amendment. The Written Consent and

         the MDC Amendment (1) appointed John Echols of Opportune LLP as Chief Restructuring

         Officer; (2) created a five-member board at MDC, consisting of Dan Gillett and Steve Pully

         (both independent directors), Mark Siffin, Etienne Locoh, and Mr. Echols; (3) authorized Mr.

         Echols, as Chief Restructuring Officer, to obtain directors and officers insurance and to negotiate

         compensation arrangement with the directors; (4) authorized MDC to engage in negotiations

         with Evercore, an independent financial advisor; and (5) authorized MDC to negotiate

         amendments to the RBL Credit Facility Agreement.

                94.     Notably, in its November 6, 2019 Objection, MTE did not factually contest that

         MTE committed numerous Events of Default under the Credit Agreement.

                95.     The Agent’s exercise of rights under Credit Agreement Section 8.2 and Collateral

         Agreement Section 6.01(b) followed months of negotiation attempting a more consensual

         resolution. All this time, MDC was drilling without an approved APOD, had run up its accounts

         payable balance significantly as of August 31, 2019, had depleted its Capital Reserve Account,


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         and had remained substantially out of compliance with key financial covenants in the Credit

         Agreement and RBL Credit Facility Agreement.

                96.    Because of MTE’s refusal to provide timely and accurate financial information

         and certifications, the Lenders had (and continue to have) extremely limited levels of visibility

         into what other defaults have occurred and may be occurring at MDC, against the backdrop of

         MDC’s management running MDC into the ground. The Lenders determined that without

         additional controls in place to ensure that MDC was being managed properly, MTE would be

         unable to satisfy its commitments to its creditors and other stakeholders, and would be unable to

         operate MDC to preserve the Lenders’ collateral.

                97.    The Lenders’ goal in exercising the Pledged Equity Vote was to preserve value at

         MDC and MTE, and ensure that key decisions would be made by and reviewed by qualified

         independent professionals. The Agent and the Lenders did not seek to assert control over

         MDC’s operations. Accordingly, none of the members of the five-member Board is affiliated

         with the Agent or the Lenders. Mr. Siffin, MTE’s longtime CEO, holds a seat on the Board,

         along with Mr. Locoh, a managing director of Olam. Mr. Echols, who is associated with

         Opportune LLP, a well-respected financial consultant specializing in the energy industry, and

         Messrs. Gillett and Pully—both independent directors who have decades of experience in the

         energy industry and have extensive experience in corporate governance—also sit on the Board.

         Mr. Gillet has served on multiple boards of directors of public and private companies, including

         in the roles as Chairman, Co-Chairman, and Audit Committee member. Mr. Pully has served on

         twenty-three boards of directors, including nine public oil and gas companies, three private oil

         and gas companies, and one private oil service manufacturing company.




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                    98.     On October 21, 2019, following the Lenders’ Pledged Equity Vote, Mr. Echols, in

         his role as Chief Restructuring Officer, attempted to enter MDC’s premises in Midland, Texas, to

         begin performing his duties as Chief Restructuring Officer. Mr. Echols was denied access.

         MDC and MTE, accordingly, refused to recognize the actions taken by the Agent as required

         under the Credit Agreement and the Collateral Agreement.

                    99.     MDC has also continued to refuse access to the Agent’s financial advisor, even

         though the Agent seeks access to MDC’s offices in order to inspect MDC’s books and records as

         required by Credit Agreement Section 5.7 and the Agent’s inspection notice.

                    100.    By letter dated October 22, 2019, MTE took the position that the Agent’s exercise

         of its voting rights of the pledged equity in MDC was “impermissible, ineffective, and void ab

         initio.”

                    101.    Finally, on November 8, 2019, MDC filed chapter 11 proceedings purportedly

         authorized by resolutions signed by Mr. Siffin as Authorized Officer of MDC. Because these

         chapter 11 proceedings were not authorized by MDC’s board of managers, they were

         commenced ultra vires and in blatant disregard of the corporate governance changes effected

         through the Pledged Equity Vote.

                    102.    Accordingly, the Agent, on behalf of the Lenders, has no choice but to seek relief

         from this Court in the form of judgment on an expedited basis that the Agent’s actions, on behalf

         of the Lenders, were valid and effective.

                                       CLAIM FOR DECLARATORY RELIEF

                    103.    The Agent repeats and re-alleges paragraphs 1 – 102, supra, as if fully set forth

         herein.




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                104.    An actual controversy has arisen and exists between MDC and the Agent

         regarding the validity and effectiveness of the Agent’s Pledged Equity Vote pursuant to Section

         18-110 of the Delaware LLC Act (6 Del. C. § 18-110).

                105.    There exists a substantial controversy between MDC and the Agent of sufficient

         immediacy and reality to warrant the issuance of a declaratory judgment under 28 U.S.C. § 2201.

         A prompt judicial determination of the respective rights and duties of the parties in these respects

         is necessary and appropriate.

                106.    Pursuant to Section 18-110 of the Delaware LLC Act (6 Del. C. § 18-110), the

         Court may hear and determine contested matters relating to the votes by the members of an LLC

         and the validity of an appointment of a manger.

                107.    Under Section 6.01(b) and Section 7.01 of the Collateral Agreement, the Agent

         has the power to vote MTE’s membership interests in MDC.

                108.    On October 21, 2019, Riverstone, as Agent, voted MTE’s membership interests in

         MDC by executing the Written Consent that provided, among other things, for:

                        (a)     Retention of John Echols as Chief Restructuring Officer of MDC and the

         engagement of Opportune LLP to assist the Chief Restructuring Officer in carrying out his duties

         at MDC;

                        (b)     Amendment of the MDC Energy LLC Agreement to create a Board to

         manage and control the administration, affairs and operations of MDC and to provide the

         provisions that govern that Board’s operation;

                        (c)     Appointment of two independent directors, Steve Pully and Dan Gillette,

         John Echols as Chief Restructuring Officer, and Mark Siffin and Etienne Locoh to that Board;




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                        (d)     Authorization of John Echols, as Chief Restructuring Officer, to obtain

         directors and officers insurance and to negotiate compensation arrangements with the directors;

                        (e)     Authorization of MDC to negotiate with Evercore to provide financial

         advisory services to MDC; and

                        (f)     Authorization of MDC to negotiate amendments to the RBL Credit

         Facility Agreement.

                109.    As described herein, MDC and its representatives have disputed the validity and

         effectiveness of the Written Consent and the MDC Amendment as demonstrated by, among other

         things, refusing Mr. Echols access to the MDC premises and preventing him from commencing

         his duties as Chief Restructuring Officer and filing a chapter 11 petition in this Court.

                110.    Riverstone requests that the Court enter a declaratory order and judgment

         declaring and confirming that those actions taken pursuant to the Pledged Equity Vote were valid

         and effective actions, including that:

                        (a)     Pursuant to the Collateral Agreement, Riverstone, as Agent, has the power

         to vote MTE’s membership interests in MDC;

                        (b)     The Written Consent was properly adopted and is effective;

                        (c)     The MDC Amendment was properly adopted and is effective;

                        (d)     Steve Pully, Dan Gillette, John Echols, Mark Siffin and Etienne Locoh

         were validly and effectively appointed to the Board of MDC and that Board has the full power

         and authority to manage and control the administration, affairs and operations of MDC pursuant

         to the provisions of the MDC Energy LLC Agreement (as amended) and the Delaware LLC Act;

                        (e)     MDC did not have authority to file the chapter 11 petition; and




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                        (f)      The Board has ultimate authority to determine whether to withdraw the

         chapter 11 petition.

                111.    Each day that MDC representatives refuse to recognize the effectiveness of the

         Written Consent, the MDC Amendment, and the critical corporate governance changes

         implemented therein will result in significant value destruction at MDC.

                                                PRAYER FOR RELIEF

                WHEREFORE, Riverstone respectfully requests that the Court:

                        (a) Enter judgment in favor of Riverstone, on the Lenders’ behalf, against

                              Defendant;

                        (b) Issue a declaration stating that:

                                           i. Pursuant to the Collateral Agreement, Riverstone, as Agent,

                                              has the power to vote MTE’s membership rights in MDC;

                                       ii. The Written Consent was validly adopted and is effective;

                                       iii. The MDC Amendment was validly adopted and is effective;

                                       iv. Steve Pully, Dan Gillette, John Echols, Mark Siffin and

                                              Etienne Locoh were validly and effectively appointed to the

                                              Board of MDC and that Board has the full power and authority

                                              to manage and control the administration, affairs and

                                              operations of MDC pursuant to the provisions of the MDC

                                              Energy LLC Agreement (as amended) and the Delaware LLC

                                              Act;

                                           v. MDC did not have authority to file the chapter 11 petition; and

                                       vi. The Board has ultimate authority to determine whether to

                                              withdraw the chapter 11 petition.
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                     (c) Grant an Order awarding Riverstone its costs and attorneys’ fees incurred in

                         bringing this action; and

                     (d) Grant Riverstone, on the Lenders’ behalf, such other and further relief as the

                         Court deems just and proper.


         Dated: November 12, 2019
                                                     YOUNG CONAWAY STARGATT
                                                      & TAYLOR LLP

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